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 4
 5   Attorney for Defendant
     FRANCISCO J. ORTIZ-PIEDRA
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 7
                               UNITED STATES DISTRICT COURT
 8
                             EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA          )                CASE NO. 1:07-CR-00095-OWW
                                       )
11                                     )                STIPULATION TO CONTINUE
                      Plaintiff,       )                SENTENCING
12                                     )
           v.                          )
13                                     )
     FRANCISCO J. ORTIZ-PIEDRA         )
14                                     )
                      Defendant.       )
15   _________________________________)
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            Defendant, FRANCISCO J. ORTIZ-PIEDRA, by and through his counsel of record,
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     NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and
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     through its counsel of record, KAREN A. ESCOBAR, Assistant United States Attorney for
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     the Eastern District of California, hereby stipulate that the sentencing in the above-referenced
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     case currently scheduled for Monday, December 15, 2008, at 9:00 a.m. be continued to
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     Tuesday, February 17, 2009 at 9:00 a.m. in the courtroom for the Honorable Oliver W.
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     Wanger, District Judge.
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 1   IT IS SO STIPULATED
                                       Respectfully submitted,
 2
 3
     Dated: 12-11-08                   /s/ Nicholas F. Reyes
 4                                     NICHOLAS F. REYES
                                       Attorney for Defendant
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 7   IT IS SO STIPULATED
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 9   Dated: 12-11-08                   /s/ Karen A. Escobar
                                       KAREN A. ESCOBAR
10                                     Assistant U.S. Attorney
11   IT IS SO ORDERED.
12   Dated: December 12, 2008        /s/ Oliver W. Wanger
     emm0d6                     UNITED STATES DISTRICT JUDGE
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